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IN THE UNITED STATES DISTRICT COURTOS `\\

 

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FOR THE WESTERN DISTRICT OF TENNESSE§ 334 4” Q
EASTERN DIVISION pg f 6’. 26
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DAle DRoKE, ”"- _,(.',/OU/§’/'
Piaimirf,
vs. NO. 02-1234_r/An

JO ANNE B. BARNHART,
Commissioner of Social Security,

\_/\_/\._/\-._/\_/\_/\_/\_/\_/\.,/

Defendant.

 

ORDER REQUIRING ADDITIONAL DOCUMENTATION

 

On July 25, 2005, plaintiff David Droke filed a motion for an award of attorney fees
under the Social Security Act, 42 U.S.C. § 406(b). The Commissioner has filed a response
objecting to the amount of the requested fee, and plaintiff has filed a reply to that response

The basis of plaintiff’s fee request is a contingent~fee agreement pursuant to Which
counsel Would receive 25 % of any past-due benefits Under Gisbrecht v. Barnhart, 535 U.S.
789 (2002), the Court must review for reasonableness the fee that Would result from such
an agreement

The Supreme Court noted in Gisbrecht that district courts may require counsel to
submit, as an aid to assessing the reasonableness of the requested fee, “a statement of the
lawyer’s normal hourly billing charge for noncontingent~fee cases.” Ld. at 808. In addition,

although counsel has submitted an affidavit from the plaintiff in this case stating that he

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with Rule 58 and/or,rs (a) FRCP on £l.§_\.’£z©§ L&

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agreed to a 25% fee, the Court has not been provided With a copy ofthe actual contingent-
fee contract.

Therefore, in order to assist the Court in determining the reasonableness of the
requested fee, plaintiff is hereby ORDERED to subinit, Within ten days after the entry of this
order, both a copy of the contingent-fee contract in this case and an affidavit from counsel
containing a statement regarding his regular hourly rate in noncontingent-fee matters

lT IS SO ORDERED.

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JUAMESD.TODD
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DATE 0

   

UNITED sTTEAS DISTRIC COUR - WETERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case l:OZ-CV-01284 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

